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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION


UNITED STATES OF AMERICA,                       CR 19-127-BLG-DLC

                   Plaintiff,
                                                ORDER
vs.

CHRISTINA DEHARO,

                   Defendant.

      Before the Court is Defendant’s Motion to Vacate Detention Hearing

currently set for Wednesday, November 13, 2019, at 2:30 p.m. (Doc. 19.)

Defendant does not indicate whether the motion is unopposed.

      Accordingly, IT IS HEREBY ORDERED that the Detention Hearing

presently set for November 13, 2019, at 2:30 p.m., is CONTINUED to November

21, 2019, at 9:00 a.m. in the Bighorn Courtroom, James F. Battin Federal

Courthouse, Billings, Montana.

      DATED this 12th day of November, 2019.

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                                     TIMOTHY J. CAVAN
                                     United States Magistrate Judge
